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  Pro Se 7(Rev. 12/16) Complainl for Fniploymeni Discriminaiion


                                                                                                              U.C.' .
                                        United States District Court
                                                                         for the




                                                            Southern District of Georgia

                                                                        Augusta
                                                                           Division
                                                                                                                 120-                      6
                                                                                   Case No.
                                                                          )
                                                                          )                       (to befilled in by the Clerk s OJfice)
                   Barbara Dawn Underwood
                                                                          )
                              Plainiiff(s)
 (I'Vrite the full name ofeach plaintiffwho isfling this complaint.
                                                                          )
 Ifthe names ofall the plaintiffs cannotft in the space above,            )        Jury Trial: (check one)   X     Yes           No
 please write "see attached" in the space and attach an additional
 page with the full list ofnames.)
                                                                          )
                                  -V-                                     )
                                                                          )
                                                                          )
  Apple Computers, Inc., Apple Store Augusta, Joseph                      )
      Eric Larsen, Eric Williams, Sean Keenan, Tianna
                                                                          )
      Gouviea, Stephen Duane Brown, See Attached
                                                                          )
                          Defendanl(s)
 (Write thefull name ofeach defendant who is being sued. Ifthe
                                                                          )
 names ofall the defendants cannotft in the space above, please           )
 write "see attached" in the space and attach an additional page
  with thefull list ofnames.)
                                                                          )



                                COMPLAINT FOR EMPLOYMENT DISCRIMINATION


 1.           The Parties to This Complaint
              A.        The Plaintiff(s)

                        Provide the information below for each plaintiff named in the complaint. Attach additional pages if
              needed.

                                Name                                  Barbara Dawn Underwood

                                Street Address                        4513 Park Lake Dr.

                                City and County                       Kiawah Island, Charleston county
                                State and Zip Code                    SC, 29455

                                'lelephone Number                     902-907-9924

                                E-mail Address                        bdunderwoQd@protonmail.com
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  Pro Se 7(Rev. 12/16) Complaint for Employment Discrimination




              B.      The Defendant(s)

                  Provide the information below for each defendant named in the complaint, whether the defendant is an
          individual, a government agency, an organization, or a corporation. For an individual defendant,
  include the person’s job or title (ifknown). Attach additional pages if needed.

                      Defendant No. I

                                Name                             Apple Computers, Inc

                                Job or Title (ifknoMm)           Apple Store Augusta
                                Street Address                   3450 Wrightsboro Rd.

                                City and County                  Augusta, Richmond county

                                State and Zip Code               GA,30909

                                Telephone Number                 (706)731-1800

                                E-mail Address (ifknoMm)



                      Defendant No. 2

                                Name                             Joseph 'Eric' Larsen
                                Job or Title (ifknown)           Store Leader, Apple Store Augusta
                                Street Address                   2008 Fleming Woods Rd

                                City and County                  Charleston, Charleston county

                                State and Zip Code               SC 29412-2569

                                Telephone Number                 (631)338-0547

                                E-mail Address (ifknown)         ilarsen(a).apple.com


                      Defendant No. 3

                                Name                             Eric Williams

                                Job or Title (ifknown)           Human Resources for Apple
                                Street Address                   1937 Buford Ct

                                City and County                  Conyers, Rockdale county
                                State and Zip Code               GA 30094-1119

                                Telephone Number                 (678)234-5653

                                E-mail Address (ifknown)




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  Pro Se 7(Rev. 12/16) Complaint for Employment Discrimination




                       Defendant No. 4

                                Name                             Sean Keenan

                                Job or Title (ifknown)           Employee Relations for Apple
                                Street Address                   11102 Endeavor Dr.

                                City and County                  Parker, Douglas county

                                State and Zip Code               CO 80134-3829

                                Telephone Number                 (720)361-2369

                                E-mail Address (ifknown)         skeenanfgapple.com


              C.       Place of Employment

                       The address at which 1 sought employment or was employed by the defendant(s) is

                                Name                             Apple Store Augusta, Apple Computers, Inc.
                                Street Address                   3450 Wrightsboro Rd.

                                City and County                  Augusta, Richmond county

                                State and Zip Code               GA,30909

                                Telephone Number                 706 - 731-1800




 II.          Basis for Jurisdiction


              This action is brought for discrimination in employment pursuant to (check all that apply):


                   X              Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to 2000e-l 7 (race.

                                  color, gender, religion, national origin).

                                (Note: In order to bring suit infederal district court under Title VII, you mustfirst obtain a
                        Notice ofRight to Sue letterfrom the Equal Employment Opportunity Commission.)

                   X              Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to 634.


                              (Note: In order to bring suit infederal district court under the Age Discrimination in
                        Employment Act, you mustfirstfile a charge with the Equal Employment Opportunity
                        Commission.)


                   X              Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to 12117.




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                                (Note: In order to bring suit infederal district court under the Americans with Disabilities
                        Act, you mustfirst obtain a Notice ofRight to Sue letterfrom the Equal Employment
                        Opportunity Commission.)


                                 Other federal law (specify thefederal law):



                   X             Relevant state law (specify, ifknown):

                                  Intentional Infliction of Emotional Distress

                                 Relevant city or county law (specify, ifknown):




 III.         Statement of Claim


          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
 facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
 involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including   the
 dates and places of that involvement or conduct. If    more than one claim   is asserted, number each claim and     write

 a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

              A.       The discriminatory conduct of which I complain in this action includes (check all that apply):

                                          Failure to hire me.


                             X            Termination of my employment.

                                          Failure to promote me.

                             X            Failure to accommodate my disability.

                                          Unequal terms and conditions of my employment.

                             X            Retaliation.


                             X            Other acts (specify):   Failure to protect employee under Title VII of the Civil Rights
                                                                  Act


                                        (Note: Only those grounds raised in the chargefiled with the Equal Employment
                                         Opportunity Commission can be considered by thefederal district court under the
                                        federal employment discrimination statutes.)

         B.
                       It is my best recollection that the alleged discriminatory acts occurred on date(s)
                       Multiple counts from 201 1 (reported and no response) through 2019

         C.            I believe that defendant(s)(check one):

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Pro Se 7(Rev. 12/16) Complaint for Employment Discrimination




                                         is/are still committing these acts against me.

                            X            is/are not still committing these acts against me.


        D.          Defendant(s) discriminated against me based on my (check all that apply and explain)'.
                                         race



                                         color


                            X            gender/sex

                                         religion

                                         national origin

                            X            age (year ofbirth)      1967         (only when asserting a claim ofage discrimination.)

                                         disability or perceived disability (specify disability)

                                          trauma, stress


         E.         The facts of my case are as follows. Attaeh additional pages if needed.
                                                                 99

                    See attached file “Statement of Claim




                    (Note: As additional supportfor thefacts ofyour claim, you may attach to this complaint a copy of
                    your chargefiled with the Equal Employment Opportunity Commission, or the chargefiled with the
                    relevant state or city human rights division.)

 IV.     Exhaustion of Federal Administrative Remedies

         A.          It is my best recollection that I filed a charge with the Equal Employment Opportunity Commission or
                     my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
                     on (date)



                    June 26, spoke with Omayra Paidooa


         B.          The Equal Employment Opportunity Commission (check one)'.
                                          has not issued a Notice of Right to Sue letter.

                            X             issued a Notiee of Right to Sue letter, which I received on (date)   06/29/2020



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 Pro Se 7(Rev. 12/16) Complaint for Employment Discrimination




                                         (Note: Attach a copy ofthe Notice ofRight to Sue letterfrom the Equal Employment
                                         Opportunity Commission to this complaint.)

         C.          Only litigants alleging age discrimination must answer this question.

                     Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
                     regarding the defendant's alleged discriminatory conduct (check one):


                                          60 days or more have elapsed.

                            X             less than 60 days have elapsed.


 V.      Relief


         State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
         arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
         amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
         or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
         money damages.

          Therapy (out of pocket expenses)- $1800
          Psychologist (out of pocket expenses)- $ 200+ ongoing
          Medications for depression and nightmares (out of pocket expenses)- $ 500+ ongoing
          Cobra Health insurance for myself and children (out of pocket expenses )- $ 10,800+ ongoing
          Loss of Apple's re-reimbursement for school tuition - $10,000(2 semesters $5,000 each)
          Loss of Apple wages approximately - $ 18,000 (part-time while in school)
          Loss of Apple stock benefits - $ 2,000 + ongoing
          Loss of home (sold, due loss of wages)- $132,000
          Actual Damages Sub-total - $ 175,300
          Punitive Damages Intentional Emotional distress - $ 1,577,700 (sub-total x 9 for each year 1 was harassed,
          assault and abused)
          Total - $ 1,753,000+ due to the ongoing expenses

 VI.     Certification and Closing

        Under Federal Rule of Civil Procedure 11, by signing below, 1 certify to the best of my knowledge, information,
       and belief that this complaint:(1) is not being presented for an improper purpose, such as to harass, cause
       unnecessary delay, or needlessly increase the cost of litigation;(2) is supported by existing law or by a
       nonfrivolous argument for extending, modifying, or reversing existing law;(3)the factual contentions have
 evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
       opportunity for further investigation or discovery; and (4)the complaint otherwise complies with the
       requirements of Rule 1 1.



         A.          For Parties Without an Attorney

                     I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a eurrent address on file with the Clerk’s Office may result
                     in the dismissal of my case.


                     Date of signing:            06/25/2020
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 Pro Se 7(Rev. 12/16) Complaint for Employment Discrimination




                     Signature of Plaintiff
                     Printed Name of Plaintiff           Barbara Dawn Underwood


         B.          For Attorneys


                     Date of signing;



                     Signature of Attorney

                     Printed Name of Attorney
                     Bar Number

                     Name of Law Firm

                     Street Address

                     State and Zip Code

                     Telephone Number
                     E-mail Address




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                                  Additional Defendants

Defendant No. 5 Name - Tianna Monet Gouveia


Job or Title (if known) - Senior Manager

Street Address - 3896 Tanbark Ct Ne


City and County - Marietta, Cobb county

State and Zip Code - GA 30066-2975

Telephone Number - 706-284-5024

E-mail Address (if known)- tianna.gouveia@yahoo.com



Defendant No.6 Name - Stephen Duane Brown

Job or Title (if known)- formerly genius, now manager

Street Address - 344 Creekside Dr # 81


City and County - Grovetown, Columbia county

State and Zip Code - GA,30813

Telephone Number - (706) 284-3823

E-mail Address (if known)- themonkeyflungpoo@me.com

Alternate address: 2417 Brentwood PI, Augusta, GA 30904
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Barbara Dawn Underwood                                                                               1 of 4




                                           statement of Claim


I. Apple Computers, Inc. hired me on December 6, 2010, as a Sales Associate, and my most recent
position was as a Creative. I successfully performed the duties of the job, receiving outstanding yearly
reviews. Between 2011-2018 I reported my co-worker, Stephen Duane Brown, of multiple counts of
sexual harassment and sexual assault, verbal, emotional, and physical abuse, and even age harassment.
I reported the incidents on two separate occasions, but the behavior continued intermittently and, at
times, grew worse.

Tianna Gouveia, my senior manager, received the latter report on September 10, 2018, but failed to
inform me how I should report it directly to Apple Human Resources. I did not learn how to report my
offender correctly (or directly to Apple Human Resources) until the following February. Ms. Gouveia told
me that Eric Wiliams, Apple Human Resources, would contact me to make a statement. By this, I
assumed Ms. Gouveia had conveyed my complaints directly to Apple Human Resources. However, to
this day, I cannot confirm that Eric Wiliams is an employee of Apple Computers Inc., and when I asked
him to put something in writing, I never heard from him again.

 During the initial conversations with Eric Williams, I requested to work from home through AppleCare,
which I was fully qualified to do. Eric William's response was, "We don't do that."
Apple has since offered most of the retail staff at Apple Store Augusta the opportunity to work from
home through AppleCare during the Covid19 pandemic. Apple Computers Inc. and Eric Williams denied
this opportunity and accommodation to me. Thereby violating the Americans with Disabilities Act of
1990, as codified, 42 U.S.C. §§ 12112 to 12117.

Initially, Eric Wiliams asked me if I wanted to take a leave of absence, and due to my re-traumatization, I
agreed. Through Eric Williams, Apple Human Resources told me that I would not have to work with my
offender, Stephen Duane Brown, during an investigation.
Later, I was told by Eric Williams that Apple would not investigate my reports until I returned to work. I
did not understand why they could not investigate my complaints about my offender, Stephen Duane
Brown, while I was on leave.
When I attempted to return to work about a month later, Eric Williams said that I would need a
physician's approval to return to work, and provided the proper documentation for A.D.A.
accommodations, if I did not want to work with my offender.
The approval and paperwork took some time to comply, but I gave them A.D.A. accommodations from
my psychiatrist and therapist. During this time, I lost my home due to not being able to return to work
and loss of income.
Upon obtaining the proper approval and paperwork, Eric Wiliams (and later Sean Keenan of Employee
Relations at Apple) informed me that Apple Human Resources would not accept my A.D.A.
accommodations. I believe Apple Computers Inc., Eric Williams, and Sean Keenan violated the Right to
a Reasonable Accommodation Under the Americans with Disabilities Act.

Additionally, during the initial report to Eric Williams, I requested to work from home through AppleCare,
which I was fully qualified to do. Eric William's response was,"We don't do that."
Apple has since offered most of the retail staff at Apple Store Augusta the opportunity to work from
home through AppleCare during the Covid19 pandemic. Apple Computers Inc. and Eric Williams denied
this opportunity and accommodation to me. Once again, violating the Americans with Disabilities Act of
1990, as codified, 42 U.S.C. §§ 12112 to 12117.


During this time, Joseph Eric Larsen, Apple Store Leader, refused to speak with me about any of the
reports of sexual harassment and assault, as well as the verbal, emotional, and physical abuse. Joseph
Eric Larsen also refused to listen to me about the A.D.A. accommodations and not being on the same
schedule with my offender, Stephen Duane Brown.
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Barbara Dawn Underwood                                                                               2 of 4



Mr. Larsen directed me to speak with Eric Williams (Apple H.R.).
However, I continued to ask whether he had investigated Stephen Duane Brown because I had given my
senior manager, Tianna Gouveia, the reports of multiple complaints of abuse, harassment, and assault. I
also gave her and a list of witnesses. I even voluntarily took a polygraph test with a polygraph expert
who works closely with law enforcement. Yet, Joseph Eric Larsen kept directing me to speak with Eric
Williams.
When I was able to contact Eric Williams, he would not tell me any information about the investigation,
other than they found no evidence to substantiate my claims. I believe that to be improbable given the
number of witnesses, I gave them and reminded him of the polygraph report. Of the polygraph testing,
Mr. Williams said, "I don't want to see that." Through Mr. Williams, Apple directly rejected the evidence
of sexual assault administered by a polygraph professional.
I believe Apple Computers Inc., Eric Wiliams, and Joseph Eric Larsen were trying to force me to continue
to work with my offender, Stephen Duane Brown, under duress.

My emotional distress was so severe that my newfound psychiatrist prescribed me two anti-depressants
and another medication for nightmares. I attended therapy twice a week, and I had to pay for it at my
own expense (credit).
Subsequently, the last time I spoke with Eric Williams, I asked if we could communicate via email
because I was emotionally re-traumatizing myself when I would talk with him over the phone. I was also
having a serious problem with my blood pressure, which my general practice doctor later diagnosed as
'work-induced.' Eric Williams then agreed to communicate via email. He said it would be "no problem."
However, he never communicated with me again.

After not being able to contact Eric Williams, I researched Apple's web site on human resources
thoroughly and learned how to correctly (or directly) report my offender's behavior. The date was
February 25, 2019. and yet it took more than a month to receive any reply. Eventually, Sean Keenan, of
Apple Employee Relations, contacted me. Two hundred thirty days after my initial report to my senior
manager, Tianna Gouveia, and well past the deadline to report my claims to the E.E.O.C.

On April 20, 2019, I received my first communication email from Sean Williams of Apple Employee
Relations. Due to my emotional distress, I asked Sean Keenan to speak directly with Eric Williams about
my complaints so that I would not relive the abuse, harassment, and assault. To prevent further re
traumatization, I told Sean Keenan that Eric Wiliams had already agreed to communicate via email and
requested that form of communication continue. Mr. Keenan refused and repeatedly sent emails
requesting urgent need of communication, but not a single question about the investigation or anything
involving the case.

On June 4, 2019, I emailed Mr. Keenan from Alabama. I was there because my father's health was
severely declining, and we knew he would not be with us for much longer. The first two lines of this email
were:

"I believe I did respond and have not received any questions or communication from you other than an
urgent need for a response.

As I stated I do prefer email communication but I must say even receiving emails from Apple are giving
me a anxiety, nightmares and consistently trigger me emotionally."


Though I asked Mr. Keenan to submit any further questions in writing via email, he had blatantly refused.

On June 18, 2019, Mr. Keenan emailed me that Eric William had found no evidence to substantiate my
claims. Mr. Keenan simultaneously admitted that they had only investigated a few of the claims, but not
all of them. This is nine months after I initially reported my offender, Stephen Duane Brown. Mr. Keenan
also told me that I was cleared to come back to work (without any A.D.A. accommodations) and gave
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Barbara Dawn Underwood                                                                                3 of 4



me a deadline, stating:

"If you do not contact your Store Leader as instructed by June 24, 2019, your failure to do so may be
considered an Unauthorized Leave which could result in termination of employment. "

I did not see this email or have a chance to respond for a few days because my father passed away the
following day, June 19, 2019.

I was able to respond by June 24, 2019, and told Mr. Keenan of my father's passing. I pleaded with him
to speak with Eric Williams again in the email:

"You should discuss the reason why I asked to communicate by email with Eric Larson. (’Williams, not
Larsen)
Eric told me it would be no problem and I would not have to work with Duane Brown during
interrogations.

By your own admission, you have not even started investigating. It has been more than 9 months since I
reported him, and in that time I have lost everything (including my home).

Eight years ago, nothing happened to him when I told Apple it started and the retaliation and abuse grew
worse. I can't even imagine what he will do now."
I was emotional over my father's death and incredibly fearful of returning to work with my offender. I did
not understand why Apple would refuse my A.D.A. accommodations like they said they would initially.
Even if they forced me to work at the same store with my offender, a simple scheduling change would
allow me to work around his schedule, since I was only part-time.
The retaliatory actions and behavior of Sean Keenan, Eric Williams, and Joseph Eric Larsen (all
employees of Apple) directly contradict Apple's harassment policy. Title VII of the Civil Rights Act of
1964 as amended, and the Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to
12117, and were an Intentional Infliction of Emotional Distress.

Tolerating my offender's conduct created an intimidating, hostile, and offensive working environment.
Consequentially, causing intentional infliction of emotional distress. I believe my employer, Apple
Computers, Inc. failed to protect me under Title VII of the Civil Rights Act of 1964 and, therefore, violated
sex discrimination laws in the workplace.
At this point, I tried to retain a lawyer, but most said too much time had passed.

On July 16, 2019, I received a FedEx letter from Joseph Eric Larsen, admitting that Sean Keenan had not
even started investigation the additional harassment claims and giving me a deadline to respond to him
(Mr. Larsen) by July 12, 2019. Four days before I received the letter.

Subsequently, I received a termination letter from Joseph Eric Larsen on September 4, 2019, based on
job abandonment. The letter stated that I needed to respond by September 3, 2019,(the previous day)
making it impossible to resume my employment.
My offender, Stephen Duane Brown, was then promoted to management.


I believe Mr. Joseph Eric Larsen's actions were personal and retaliatory. Through Joseph Eric Larsen,
Apple Computers Inc. wrongfully terminated my employment, violating Title VII of the Civil Rights Act of
1964 forbids an employer from retaliating against an employee because of the employee's opposition to
"any practice made an unlawful practice" by Title VII, or the employee's participation in "an investigation,
proceeding, or hearing under [Title VII]." 42 U.S.C. § 2000e-3(a)
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Barbara Dawn Underwood                                                                                  4 of 4



The wrongful termination was reported to Apple Human Resources, but I was verbally told that they
would not renew the case unless I have new information.


II. Additionally, I believe I have been discriminated against because of my age (53), in violation of the Age
Discrimination in Employment Act of 1967, as amended. Tianna Gouveia, my senior manager, witnessed
age discrimination and harassment by Stephen Duane Brown and asked him to stop. However, she did
not reprimand or report the incident, which violates Apple's Harassment Policy. Ms. Gouveia's tolerance
not only allowed the harassment to continue but condones the behavior as well.
Again, violating Title VI I of the Civil Rights Act of 1964 as amended, and allowing for Intentional Infliction
of Emotional Distress.


III. Finally, in 2014, Apple Computers, Inc. Corporate forced me to work with a customer who had
previously touched and hugged me inappropriately. I informed my manager, Robert Gastiaburo, of the
business customer's behavior and actions. I also pleaded with him not to have to work with the business
customer as I feared he would repeat the sexual misconduct. Mr. Gastiaburo listened and attempted to
find a resolution by speaking with Apple Corporate. Later, he communicated Apple's response, informing
me that I would have to continue working with the business customer. Unfortunately, the business
customer did repeat his misconduct, which resulted in severe emotional distress.
Violating Title VII of the Civil Rights Act of 1964 as amended, and was another example of Intentional
Infliction of Emotional Distress.
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EEOC Form 5 (11/09)

                                                                                                                              Agency(ies) Charge
                  Charge of Discrimination                                                  Charge Presented To:               No(s):
       This form is affected by the Privacy Act of 1974. See enclosed Privacy Act
             Statement and other information before completing this form.
                                                                                                _ FEPA
                                                                                                  x] EEOC                       410-2020-06479

                                                                          null                                                              and EEOC

                                                               state or local Agency, ifany
Name (indicate Mr., Ms., Mrs.)                                                                               Home Phone                   Year of Birth


MS. BARBARA D UNDERWOOD                                                                                  (731) 780-5974                     1967
street Address                                                         City, State and ZIP Code

4513 PARK LAKE DR., KIAWAH ISLAND, SC 29455


Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency
That I Believe Discriminated Against Me or Others, (if more than two, list under PARTICULARS below.)
Name                                                                                                 No. Employees, Members             Phone No.


APPLE COMPUTERS INC. - AUGUSTA, GA RETAIL STORE                                                           Under 15               (706) 731-1800
street Address                                                         City, State and ZIP Code

3450 WRIGHTSBORO RD., AUGUSTA, GA 30909

Name                                                                                                 No. Employees. Members             Phone No.




Street Address                                                         City, State and ZIP Code




DISCRIMINATION BASED ON (Check appropriate box(es).)                                                         DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                    Earliest                 Latest

        RACE              COLOR          X    SEX              RELIGION              NATIONAL ORIGIN          09-01-2011                09-03-2019
       X     RETALIATION          X     age          DISABILITY              GENETIC INFORMATION

                      OTHER (Specify)                                                                                         CONTINUING ACTION

THE PARTICULARS ARE (ifadditional paper is needed, attach extra sheet(s)):
 I.      I was hired on December 6, 2010 as a Sales Associate and my last position held was Creative. I
 was successfully performing the duties of the job. Between 2011-2018 I reported multiple counts of
 sexual harassment, verbal/emotional, physical abuse, and age harassment. Duane Brown, Genius (now
 promoted to manager), subjected me to multiple counts of sexual harassment. I reported the incidents to
 Manager on two separate occasions, but the actions continued. In 2014, Apple Corporate,forced me to
 work with a customer who had previously touched and hugged me inappropriately. I was also forced to
 continue to work with Duane Brown who often bullied and sexually harassed me. On September 3, 2019,
 I was wrongfully terminated.

 II.
           My employer told me I would not have to work with my offender if I provided documentation,
 which I did. My employer did not accept my request and I was terminated for job abandonment.
            I believe I have been discriminated against because of my sex, female, and retaliated against in
 violation of Title VII of the Civil Rights Act of 1964, as amended. Additionally, I believe I have been
I want this charge filed with both the EEOC and the State or local Agency,          NOTARY - When necessary for State and Local Agency Requirements
if any. I will advise the agencies if I change my address or phone number
and I will cooperate fully with them in the processing of my charge ’in
accordance with their procedures.
                                                                                    I swear or affirm that I have read the above charge and that it
I declare under penalty of perjury that the above is true and correct.              is true to the best of my knowiedge, information and belief.
                                                                                    SIGNATURE OF COMPLAINANT




                                                                                    SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                                                                    (month, day, year)

                                                                                                     06/29/2020
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CP Enclosure with EEOC Form 5 (11/09)

Privacy Act Statement: Under the Privacy Act of 1974, Pub. Law 93-579, authority to
request personal data and its uses are:

1.    Form Number/Title/Date. EEOC Form 5, Charge of Discrimination (11/09).
2.    Authority. 42 u.s.c. 2000e-5(b), 29 u.s.c. 211,29 u.s.c. 626, 42 u.s.c. 12117, 42 u.s.c.
2000ff-6.


3. Principal Purposes. The purposes of a charge, taken on this form or otherwise
reduced to writing (whether later recorded on this form or not) are, as applicable
under the EEOC anti-discrimination statutes (EEOC statutes), to preserve private suit
rights under the EEOC statutes, to invoke the EEOC's jurisdiction and, where dual
filing or referral arrangements exist, to begin state or local proceedings.

4. Routine Uses. This form is used to provide facts that may establish the existence
of matters covered by the EEOC statutes (and as applicable, other federal, state or
local laws). Information given will be used by staff to guide its mediation and
investigation efforts and, as applicable, to determine, conci liate and litigate claims of
unlawful discrimination. This form may be presented to or disclosed to other federal,
state or local agencies as appropriate or necessary in carrying out EEOC's functions.
A copy of this charge will ordinarily be sent to the respondent organization against
which the charge is made.

5. Whether Disclosure is Mandatory; Effect of Not Giving Information. Charges must
be reduced to writing and should identify the charging and responding parties and the
actions or policies complained of. Without a written charge, EEOC wil l ordinarily not
act on the complaint. Charges under Title VII, the ADA or GINA must be sworn to or
affirmed (either by using this form or by presenting a notarized statement or unsworn
declaration under penalty of perjury); charges under the ADEA should ordinarily be
signed. Charges may be clarified or amplified later by amendment. It is not
mandatory that this form be used to make a charge.

                          Notice of Right to Request Substantial Weight Review

Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual
files charges with EEOC will ordinarily be handled first by the FEPA. Some charges
filed at EEOC may also be first handled by a FEPA under worksharing agreements.
You will be told which agency will handle your charge. When the FEPA is the first to
handle the charge, it will notify you of its final resolution of the matter. Then, if you
wish EEOC to give Substantial Weight Review to the FEPA's final findings, you must
ask us in writing to do so within 15 days of your receipt of its findings. Otherwise, we
wi l l ordinarily adopt the FEPA's finding and close our file on the charge.
                                    Notice of Non-Retaliation Requirements

Please notify EEOC or the state or local agency where you filed your charge if
retaiiation is taken against you or others who oppose discrimination or cooperate in
any investigation or lawsuit concerning this charge. Under Section 704(a) of Title VII,
Section 4(d) of the ADEA, Section 503(a) of the ADA and Section 207(f) of GINA, it is
unlawful for an employerto discriminate against present or former employees or job
applicants, for an employment agency to discriminate against anyone, or for a union
to discriminate against its members or membership applicants, because they have
opposed any practice made unlawful by the statutes, or because they have made a
charge, testified, assisted, or participated in any manner in an investigation.
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proceeding, or hearing under the laws. The Equal Pay Act has similar provisions and
Section 503(b) of the ADA prohibits coercion, intimidation, threats or interference with
anyone for exercising or enjoying, or aiding or encouraging others in their exercise or
enjoyment of, rights under the Act.
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     -EOC Forn? 161 i IliiD;
                                               U.S. Equal Employment Opportunity Commission

     To;
                                                      JpISMISSAL AND NOTICE OF RIGHTS
               Barbara D. Underwood                                                                  From
           4513 Park Lake Dr.                                                                                   Savannah Local Office
            Kiawah Island, SC 29455                                                                             7391 Hodgson Memorial Drive
                                                                                                                Suite 200
                                                                                                                Savannah, GA 31406


                                 On behalf of person(s) aggneved y,ihose identity is
                                 CONFIDENTIAL (29 CFR il WOl Tjs)l
     EEOC Charge No                                  EEOC Representative
                                                                                                                                     Telephone No.
                                                     Chantel Tucker,
     410-2020-06479
                                                     Investigator
                                                                                                                                     (912) 920-4266
     THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
                     The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

                     Your allegations did not involve a disability as defined by the Americans With Disabilities Act
                     The Respondent employs less than the required number of employees or is not otherwise covered by the statutes
           X
                     Your charge was not timely filed with EEOC'
                     discrimination to file your charge          in                 other words, you waited too long after the date(s) of the alleged
                     The
                           E.fcOC issues the following determination' Based upo         investigation, the EEOC is unabie to conclude that th»
                    information obtained establishes violations of the statutes, 'f’ts does  not certify that the respondent is compliance within
                    the statutes. No finding is made as to any other issues that n^'ght be construed as having been raised by this charae
                    The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge
                    Other (briefly state)



                                                           -NOTICE OF SUIT RIGHTS-
                                                      (See the additional information attached to this form)




                                                 f                        On behalf of the C.ommission
                                                                            4

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                                                    r              '.■C                                                                 {           .a
                                                                                                                                                            30
Enclosures(s)
                                                                          Omayra Pat^illa,                                                  (Date Mailed)
                                                                                Di recto 1^,
cc
               Sean Keenan
               Human Resources
            APPLE COMPUTERS INC, - AUGUSTA, GA RETAIL
            STORE
            3450 Wrightsboro Rd.
           Augusta, GA 30909
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 Enclosure with EEOC
 rorrn 161-B ni/i6)

                                           Information Related to Filing Suit
                                        Under the Laws Enforced by the EEOC

                        (This information relates to filing suit in Federal or State court under Federal law
              If you also plan to sue claiming violations of State law. please be aware that time limits and other
                       provisions of State law may be shorter or more limited than those described below)

 Private Suit Rights                 Title VII of the Civil Rights Act, the Americans with Disabilities Act(ADA),
                                     the Genetic Information Nondiscrimination Act(GINA), or the Age
                                     Discrimination in Employment Act(ADEA):

 In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice Therefore, you should keep a record of this date Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost If you intend to
consult an attorney, you should do so promptly Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later
Your lawsuit may be filed in U S District Court or a State court of competent jurisdiction (Usually, the appropriate
State court is the general civi l trial court ) Whether you file in Federal or State court is a matter tor you to decide
after talking to your attorney Filing this Notice is not enough You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief Courts often require that a copy of
your charge must be attached to the complaint you file in court If so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you

Private Suit Rights                 Equal Pay Act(EPA):

ERA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08. you should file suit
              - not 12/1/10 - in order to recover unpaid wages due for July 2008 This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VI I. the ADA. GINA or the ADEA referred to above
Therefore, if you also plan to sue under Title VII . the ADA GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period
Attorney Representation                    Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U S District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer Requests for such assistance must be
made to the U S District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney) Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days
Attorney Referral and EEOC Assistance                           All Statutes:


You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U S District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number(as shown on your Notice) While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice (Before filing suit any request should be
made within the next 90 days )

                 If you file suit, please send a copy of your court complaint to this OFFICE.
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                       U.S. DISTRICT COURT PLEADING SUBMISSION FORM

1) CASE NUMBER:

2)TITLE OF THE CASE:    1
                              ■p(         4-                      ofx
3)PLEADING BEING SUBMITTED:




4) YOUR NAME AND ADDRESS: TtV-./HOr.ry..                    ru.f^o                  C2
                                                                                     3


                                                                                    o
                                    t

5) PHONE NUMBER:

6) DATE:

      ***PLEASE ATTACH THIS FORM TO YOUR PLEADING AND PLACE IT IN THE DROP BOX***
